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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

v.
                                          Case No. 3:19-mj-185/HTC
DAVID CLAYTON WILLIAMS,
      Defendant.
_______________________________________________________________/
                     MOTION TO SUBSTITUTE COUNSEL

       The undersigned attorney, Donald M. Sheehan, moves this court for an order substituting

Donald M. Sheehan for Lauren Cobb, Assistant Federal Public Defender, as the attorney for David

C. Williams in the above pending case and as grounds for the court to grant the motion would

show that:

       1.       The defendant, David C. Williams, was arrested and he initially appeared in federal

             court on August 15, 2019. He is charged by criminal complaint with several felony

             offenses. He has not yet been indicted.

       2.       Mr. Williams requested that the court appoint him an attorney, which the court did.

             The office of the Federal Public Defender was appointed to represent him and assigned

             Assistant Federal Public Defender, Lauren Cobb to represent him.

       3.       Mr. Williams has retained attorney Donald M. Sheehan to represent him. Mr.

             Sheehan filed his Notice of Appearance on August 30, 2019.



             WHEREFORE, Movant prays that the Court will grant this motion.

             RESPECTFULLY SUBMITTED on August 30th, 2019.




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                                                      /s/Donald M. Sheehan_________
                                                      DONALD M. SHEEHAN
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                                                      PENSACOLA, FLORIDA 32502
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                                                      Email: palemoon@sprynet.com
                                                      FLORIDA BAR NO.: 464724
                                                      ATTORNEY FOR DEFENDANT


                                 CERTIFICATE OF SERVICE


       I hereby certify that on August 30th, 2019. I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to the

following: David Goldberg Esquire, Assistant United States Attorney, 21 East Garden Street,

Pensacola, Florida 32502-3675.

                                                      /s/Donald M. Sheehan_________
                                                      DONALD M. SHEEHAN




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